Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF ALABAMA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/24
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Coastal Growers Holdings LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  250 Carpet Drive
                                  Atmore, AL 36502
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Escambia                                                        Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




                    Case 25-10391            Doc 1       Filed 02/13/25 Entered 02/13/25 09:16:42                              Desc Main
Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                                                            Document Page 1 of 8
Debtor    Coastal Growers Holdings LLC                                                                Case number (if known)
          Name



7.   Describe debtor's business       A. Check one:
                                         Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                         Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                         Railroad (as defined in 11 U.S.C. § 101(44))
                                         Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                         Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                         Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                         None of the above

                                      B. Check all that apply
                                         Tax-exempt entity (as described in 26 U.S.C. §501)
                                         Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                         Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                      C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                        http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the       Check one:
     Bankruptcy Code is the
                                         Chapter 7
     debtor filing?
                                         Chapter 9

                                         Chapter 11. Check all that apply:
                                                                Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                are less than $3,024,725 (amount subject to adjustment on 4/01/25 and every 3 years after that).
                                                                The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                procedure in 11 U.S.C. § 1116(1)(B).
                                                                The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and it chooses to
                                                                proceed under Subchapter V of Chapter 11.
                                                                A plan is being filed with this petition.
                                                                Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                accordance with 11 U.S.C. § 1126(b).
                                                                The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                (Official Form 201A) with this form.
                                                                The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                         Chapter 12

9.   Were prior bankruptcy               No.
     cases filed by or against
     the debtor within the last 8        Yes.
     years?
     If more than 2 cases, attach a
     separate list.                             District                                 When                                  Case number
                                                District                                 When                                  Case number

10. Are any bankruptcy cases             No
    pending or being filed by a
    business partner or an               Yes.
    affiliate of the debtor?




                    Case 25-10391               Doc 1      Filed 02/13/25 Entered 02/13/25 09:16:42                                    Desc Main
Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
                                                              Document Page 2 of 8
Debtor    Coastal Growers Holdings LLC                                                                    Case number (if known)
          Name

     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




                    Case 25-10391                   Doc 1         Filed 02/13/25 Entered 02/13/25 09:16:42                                Desc Main
Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
                                                                     Document Page 3 of 8
Debtor    Coastal Growers Holdings LLC                                                             Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      February 13, 2025
                                                  MM / DD / YYYY


                             X /s/ Holly Johnson                                                          Holly Johnson
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Chief Financial Officer




18. Signature of attorney    X /s/ Edward J. Peterson                                                      Date February 13, 2025
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Edward J. Peterson
                                 Printed name

                                 Johnson, Pope, Bokor,
                                 Firm name

                                  Ruppel & Burns, LLP
                                 400 N Ashley Dr. #3100
                                 Tampa, FL 33602
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     813-225-2500                  Email address


                                 1848-E68E AL
                                 Bar number and State




                    Case 25-10391            Doc 1       Filed 02/13/25 Entered 02/13/25 09:16:42                                Desc Main
Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 4
                                                            Document Page 4 of 8
ALSB LBF 1007 (12/19)
                                  UNITED STATES BANKRUPTCY COURT
                                   SOUTHERN DISTRICT OF ALABAMA
   IN RE:

    Debtor(s)   Coastal Growers Holdings LLC                  )      Case No.
                                                              )
                                                              )      Chapter: 11
                                                              )


         VERIFICATION OF OFFICIAL CREDITOR LIST (INITIAL OR SUPPLEMENTAL)

                                  Original
                                  Amendment
                                           Adding             Deleting

       I hereby certify under penalty of perjury that the master mailing list of creditors attached and/or
uploaded to the Electronic Case Filing System is true, correct and complete to the best of my knowledge.

       I further acknowledge that (1) the accuracy and completeness of the creditor list are the shared
responsibility of the debtor and the debtor’s attorney, (2) the court will rely on the creditor list for all
mailings, and (3) the various schedules and statements required by the Bankruptcy Rules are not used for
mailing purposes.

        If you are amending a previously-filed list of creditors, attach a list of only the creditor being added
or deleted and indicate below only the number of creditors being added or deleted.

                             creditor(s) (or if amended, number of creditors added), as shown on attached list

                             creditor(s) to be deleted, as shown on attached list
    /s/ Holly Johnson
    Debtor Signature                                          Joint Debtor Signature

    /s/ Edward J. Peterson                                    February 13, 2025
    Signature of Attorney                                     Date
                                                                                                   [Check if applicable]
                                                                                   Creditors with foreign addresses included




                                                          1

            Case 25-10391      Doc 1     Filed 02/13/25 Entered 02/13/25 09:16:42                     Desc Main
                                            Document Page 5 of 8
ALSB LBF 1007 (12/19)

                                UNITED STATES BANKRUPTCY COURT
                                       SOUTHERN DISTRICT OF ALABAMA

                                OFFICIAL CREDITOR LIST GUIDELINES

The Official Creditor List must be provided to the court in electronic format and meet the requirements
below:

         The name and address of each creditor must be five lines or fewer

         Each line may contain no more than 40 characters including spaces

         Names and addresses should be left justified (no leading spaces) with only one column of creditors

         If attention lines are used, they should appear on the second line of the address

         City, state, and ZIP code must be on the last line

         All states must be two-letter abbreviations

         If a nine-digit ZIP code is used, a hyphen must separate the first five digits from the last four digits

         DO NOT include the following names on the mailing list because they will be retrieved
         automatically by the court’s computer system: debtor, joint debtor, attorney for debtor(s),
         Bankruptcy Administrator

   Attorney Filers
   Most bankruptcy preparation software packages can save the creditor list electronically in the proper
   format. Please check with your software company to see if you have this option.

   Filers without an Attorney (Pro Se Debtors)
   Filers without an attorney may submit a list of creditors to the clerk’s office.

   Verification of Creditor List
   Each submission of an Official Creditor List shall be accompanied by a cover sheet or Verification of
   Official Creditor List in the format provided by the Clerk.

   Amendments
   Amendments to the Official Creditor List shall contain only names and addresses to be added to or
   deleted from the Official Creditor List and must comply with the requirements above




                                                         2

          Case 25-10391       Doc 1     Filed 02/13/25 Entered 02/13/25 09:16:42              Desc Main
                                           Document Page 6 of 8
}
b
k
1
{
C
r
e
d
i
t
o
A
s
M
a
x




                      Alabama Dept of Revenue
                      Collection Services
                      PO Box 327820
                      Montgomery, AL 36132

                      Hancock Whitney Bank
                      25 W I-65 Service Rd N
                      Mobile, AL 36608

                      Internal Revenue Service
                      P.O. Box 7346
                      Philadelphia, PA 19101-7346

                      Munistrategies Sub-CDE#36, LLC
                      PO Box 2170
                      Jackson, MS 39225

                      NIF Sub II, LLC
                      701 Lake St E #350
                      Wayzata, MN 55391

                      RDP 39, LLC
                      605 East J. Street #300
                      Forest City, IA 50436

                      Tim Pettis
                      Escambia County Tax Collector
                      PO Box 407
                      Brewton, AL 36427

                      UBCD Sub-CDE Hampton Roads, LLC
                      200 E Nashville Ave
                      Atmore, AL 36502

                      Waveland Sub CDE XXXI, LLC
                      825 N Jefferson St #300
                      Milwaukee, WI 53202




    Case 25-10391   Doc 1   Filed 02/13/25 Entered 02/13/25 09:16:42   Desc Main
                               Document Page 7 of 8
                                          United States Bankruptcy Court
                                               Southern District of Alabama
 In re   Coastal Growers Holdings LLC                                                  Case No.
                                                              Debtor(s)                Chapter     11




                             CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Coastal Growers Holdings LLC in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:
Coastal Growers LLC
250 Carpet Drive
Atmore, AL 36502




  None [Check if applicable]




February 13, 2025                                /s/ Edward J. Peterson
Date                                             Edward J. Peterson
                                                 Signature of Attorney or Litigant
                                                 Counsel for Coastal Growers Holdings LLC
                                                 Johnson, Pope, Bokor,
                                                  Ruppel & Burns, LLP
                                                 400 N Ashley Dr. #3100
                                                 Tampa, FL 33602
                                                 813-225-2500 Fax:813-223-7118




           Case 25-10391         Doc 1      Filed 02/13/25 Entered 02/13/25 09:16:42                    Desc Main
                                               Document Page 8 of 8
